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13
                     UNITED STATES DISTRICT OF CALIFORNIA
14                     CENTRAL DISTRICT OF CALIFORNIA
15

16    SUSAN DORETY INDIVIDUALLY              §
      AND ON BEHALF OF THE ESTATE            §
17
      OF MICHAEL DORETY                      §
18        Plaintiff                          § Case No. 2:20-cv-02458
                                             §
19
            v.                               § COMPLAINT
20                                           §
21
      PRINCESS CRUISE LINES LTD.,            § DEMAND FOR JURY TRIAL
                                             §
22         Defendant.                        §
23                                           §
24

25                   ORIGINAL COMPLAINT IN INTERVENTION
26
            COMES NOW, Plaintiff/Intervenor Susan Dorety Individually and on behalf
27

28
      of the Estate of Michael Dorety, and files her Original Complaint in Intervention



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 1    against Defendant, Princess Cruise Lines LTD (hereinafter, "Princess"), and would
 2
      respectfully show the Court as follows:
 3

 4     I.   PARTIES
 5
            1.     Plaintiff/Intervenor Susan Dorety Individually and on behalf of the
 6

 7
      Estate of Michael Dorety is a resident of Tarrant County, Texas and was a passenger

 8    onboard the Grand Princess.
 9
            2.     Princess Cruise Lines Ltd. is incorporated in Bermuda, with its
10

11    headquarters in Santa Clarita, California. The action is being filed in this Court
12
      pursuant to the terms and conditions of the Passenger Contract issued by Defendant,
13

14
      Princess Cruise Lines, Ltd. Princess Cruise Lines Ltd. may be served via its

15    registered agent, CT Corporation System, 818 West Seventh Street, Suite 930, Los
16
      Angeles, California 90017.
17

18    II.   JURISDICTION AND VENUE
19
            3.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1332 for the
20

21
      reason that there is complete diversity of citizenship between Plaintiff/Intervenor

22    and Princess, and Plaintiff/Intervenor seeks damages in excess of $1,000,000.00
23
      (One Million Dollars) exclusive of interest, costs, and attorney’s fees, which greatly
24

25    exceeds the minimum amount in controversy required by § 1332.
26
            4.     This Court also has Admiralty subject matter jurisdiction pursuant to
27

28
      28 U.S.C. § 1333 as this case involves a maritime tort. The type of incident and



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 1    injuries suffered by Plaintiff/Intervenor had the potential to impact maritime
 2
      commerce as Plaintiff/Intervenor was at serious risk of imminent harm as a result of
 3

 4    contracting the Coronavirus which was allowed to run rampant aboard the cruise
 5
      ship upon which Susan Dorety and Michael Dorety were paying passengers.
 6

 7
            5.     The Court has general personal jurisdiction over Princess as Princess’

 8    principal place of business is in Los Angeles County, California as such Princess is
 9
      “at home” in California for purposes of any exercise of personal jurisdiction. In
10

11    addition, Princess conducts substantial business within the state of California,
12
      including operating cruises from ports in San Francisco, San Diego, and Los Angeles.
13

14
      Princess markets cruise vacations to California residents and employs thousands of

15    California residents to work at its California headquarters. It was foreseeable at all
16
      times that Princess could be hauled into court in the State of California for conduct
17

18    that caused injuries; in fact, Princess’ Passenger Contract requires claimants like
19
      Plaintiff/Intervenor in this action, to bring suit to vindicate personal injury claims in
20

21
      the United States District Court for the Central District of California. At all times

22    hereto, Princess owned and operated the cruise ship the Grand Princess.
23
            6.     Susan Dorety and Michael Dorety were passengers aboard the Grand
24

25    Princess which departed out of San Francisco on February 21, 2020 and was
26
      anchored off the coast of San Francisco from March 4-9, 2020, as a result of an
27

28
      outbreak of COVID-19. The exercise of personal jurisdiction over Princess by this



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 1    Court comports with due process and is consistent with traditional notions of fair
 2
      play and substantial justice.
 3

 4   III.   FACTUAL BACKGROUND
 5
            7.     In the months preceding the filing of this Complaint, there was a
 6

 7
      worldwide outbreak of a new strain of the Coronavirus. This new strain is commonly

 8    known as COVID-19. The virus began in China in December 2019, and quickly
 9
      spread throughout Asia and Europe. Most recently, it spread throughout North
10

11    America. The virus causes fatigue, fever, loss of appetite, loss of smell, loss of taste,
12
      and a dry cough. Coronavirus can be fatal, especially in people over sixty years of
13

14
      age. As of the date of this filing, here are over 1,900,000 cases worldwide and over

15    110,000 deaths as result of COVID-19. The fatalities are largely amongst the elderly
16
      population and others with underlying medical complications.
17

18          8.     COVID-19 gained increased public attention when the Diamond
19
      Princess cruise ship (also owned and operated by Defendant) suffered an outbreak
20

21
      of the disease in early February 2020 in Yokohama, Japan. The outbreak began with

22    ten cases and rapidly multiplied to 700 cases, as a result of the flawed two-week
23
      quarantine on the ship. The Center for Disease Control issued a statement on
24

25    February 18, 2020, that said “the rate of new reports of positives new on board [the
26
      Diamond Princess], especially among those without symptoms, highlights the high
27

28




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 1    burden of infection on the ship and potential for ongoing risk.” Seven of Defendant’s
 2
      passengers died as a result of COVID-19 on the Diamond Princess cruise ship.
 3

 4          9.     When the Princess’ Grand Princess cruise ship left San Francisco on
 5
      February 21, 2020, it was carrying 2,421 passengers and 1,113 crew members. It
 6

 7
      would only stand to reason, having experienced such a traumatic outbreak on board

 8    one of its vessels less than a month prior to the February 21, 2020 voyage that
 9
      Princess would have learned to take all necessary precautions to keep its passengers,
10

11    crew, and the general public safe. Unfortunately, Princess did nothing to ensure the
12
      safety of its passengers, including Susan Dorety and Michael Dorety.
13

14
         A. Susan and Michael Dorety

15          10.    Susan and Michael Dorety Grew up in Irving, Texas. Susan met
16
      Michael when she was working at a bank and he was a firefighter. They fell in love,
17

18    married, and raised 2 children. Michael retired after 39 years as a firefighter. For
19
      their 40th wedding anniversary, they decided to take the February 21, 2020 Princess’
20

21
      Grand Princess cruise out of San Francisco, California.

22          11.    As Susan and Michael Dorety boarded the Grand Princess cruise ship,
23
      they did not know that Princess had knowledge that at least two of its passengers
24

25    from the prior voyage who disembarked the Grand Princess on February 21, 2020
26
      had symptoms of coronavirus. Susan and Michael Dorety were also unaware that
27

28
      there were 62 passengers on board the February 21, 2020 cruise who remained on



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 1    board after the conclusion of the prior voyage. Those 62 carry-over passengers were
 2
      exposed to the passengers that were infected with COVID-19.
 3

 4          12.   After several days on the cruise, Princess removed the buffets, removed
 5
      the salt and pepper shakers, and required its employees to wear gloves. Princess
 6

 7
      continued to hold shows and community events. Eventually Princess cancelled the

 8    shows but continued with community events such as bingo. Finally, after almost two
 9
      weeks, Princess quarantined the guests to their rooms.
10

11          13.   After the Grand Princess cruise ship docked in Oakland, Michael
12
      Dorety developed symptoms of COVID-19. Susan Dorety called the emergency
13

14
      number of the Grand Princess cruise ship, as she was told to do if anyone developed

15    symptoms of Coronavirus. The Princess representative told Susan Dorety they
16
      would make a report and get back to her. They never did. Susan Dorety called
17

18    Princess’ emergency number three times that day and her husband received no
19
      medical attention.
20

21
            14.   The next day, Michael Dorety could not get out of bed. Susan Dorety

22    kept calling Princess’ emergency number and received no help. At one point when
23
      Michael Dorety was shivering under several blankets and sweating profusely,
24

25    Princess asked how Susan Dorety knew her husband actually had a fever.
26
            15.   Eventually, Susan Dorety convinced Princess to send the doctor. He
27

28
      showed up, confirmed that Michael Dorety had a fever, gave Susan Dorety some



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 1    Tamiflu and Tylenol for her husband, and left. At this point, Michael Dorety was
 2
      nonresponsive.
 3

 4            15.   As Michael Dorety’s condition worsened, Susan Dorety became more
 5
      and more upset. Eventually, she convinced Princess to let them off the ship so they
 6

 7
      could see the medical personnel the CDC had on the dock. When she finally got

 8    Michael Dorety off the ship, almost three days after his symptoms developed, the
 9
      CDC looked at him alarmed and asked why she did not bring him sooner. She
10

11    explained that she spent the last two days trying to get Princess to let him off the
12
      ship.
13

14
              16.   Michael Dorety was immediately taken to a hospital where he spent

15    days suffering in agony. Michael Dorety tested positive for COVID-19 and struggled
16
      to stay alive. When Michael Dorety died, he was all alone. The doctor called Susan
17

18    Dorety to tell her that her husband was dying. Susan Dorety and her children listened
19
      as the doctor counted down Michael Dorety’s heartbeats until he was gone. Michael
20

21
      Dorety died alone.

22    IV.     CLAIMS FOR RELIEF
23
                                            Negligence
24

25            17.   Plaintiff/Intervenor re-alleges all allegations in paragraphs 7 through 16
26
      above as if alleged fully herein.
27

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 1          18.    Princess owed Susan and Michael Dorety, who were paying passengers
 2
      who boarded the Grand Princess on February 21, 2020, the duty to ensure that they
 3

 4    would not be exposed to unreasonable risk of harm that Princess knew or should
 5
      have known about while sailing on its vessel.
 6

 7
            19.    Princess breached that duty. It had knowledge that at least two of its

 8    passengers from the prior voyage who disembarked the Grand Princess early on
 9
      February 21, 2020 had symptoms of Coronavirus. Despite that, Princess made the
10

11    conscious decision to continue sailing the next voyage of the Grand Princess, which
12
      began later on February 21, 2020 with another 3,534 passengers and crew on an
13

14
      infected ship.

15          20.    Princess was aware of at least two passengers who disembarked its ship
16
      on February 21, 2020 in San Francisco, had symptoms of the Coronavirus. It went
17

18    as far as to send emails on Wednesday, February 25, 2020 to passengers who
19
      disembarked the Grand Princess on February 21, 2020 notifying them of the
20

21
      potential of exposure to the coronavirus while onboard their cruise.

22          21.    To make matters even worse, there were 62 passengers on board the
23
      cruise, who remained on board after the conclusion of the prior voyage. Those 62
24

25    carry-over passengers were exposed to the passengers that were confirmed to be
26
      infected; some of the infected passengers to whom the carry-over passengers were
27

28
      exposed later died from coronavirus.



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 1          22.    In continuing to sail with another 3,534 passengers and crew (including
 2
      Susan and Michael Dorety), on the cruise that began on February 21, 2020, knowing
 3

 4    that some of those passengers and crew had already been exposed to COVID-19,
 5
      Princess exposed Susan and Michael Dorety to actual risk of immediate physical
 6

 7
      injury.

 8          23.    Princess is further negligent in failing to have proper screening
 9
      protocols for COVID-19 before boarding the passengers on the voyage. Despite the
10

11    knowledge and experience it had with the outbreak of the disease on the Diamond
12
      Princess just a mere three weeks prior to the February 21, 2020 cruise, Princess did
13

14
      not have proper screening protocol in place to minimize the risk of exposure of the

15    disease to its passengers and crew.
16
            24.    Prior to boarding the February 21, 2020 sailing on the Grand Princess,
17

18    passengers were simply asked to fill out a piece of paper confirming they were not
19
      sick. No passenger was questioned or examined in any capacity. Incredibly, not one
20

21
      of those 62 passengers or crew members who were mixing and mingling with the

22    infected prior passengers were ever examined during the instant voyage until being
23
      tested for the virus on Thursday, March 5, 2020, two weeks after the ship sailed.
24

25          25.    Princess is further negligent in failing to adequately warn Susan and
26
      Michael Dorety about the potential exposure to COVID-19 prior to boarding the ship
27

28
      on February 21, 2020, and again during the sailing of said cruise. Defendant had



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 1     actual knowledge of at least two passengers who sailed on its ship the week prior,
 2
       disembarked with symptoms of coronavirus, and one confirmed death as a result.
 3

 4     Princess also knew that there were 62 passengers and crew who were onboard that
 5
       same cruise, who later boarded the Grand Princess with Susan and Michael Dorety,
 6

 7
       and failed to inform Susan and Michael Dorety at any time prior to boarding or while

 8     they were already onboard, that there was an actual risk of exposure to COVID-19.
 9
             26. Princess failed to inform Susan and Michael Dorety that a crew member
10

11     aboard their cruise actually disembarked in Hawaii as a result of COVID-19. If
12
       Susan and Michael Dorety had knowledge of this actual risk of exposure prior to
13

14
       boarding, they would have never boarded the ship. If they were informed of the risk

15     on February 25, 2020, when the former passengers were notified by email, Susan
16
       and Michael Dorety would have disembarked at the first port of call in Honolulu
17

18     on February 26, 2020. Due to Princess’ outright negligence in failing to warn
19
       Susan and Michael Dorety of the actual risk of exposure to COVID-19 aboard its
20

21
       infected ship, Susan and Michael Dorety were quarantined in their cabin along with

22     the rest of the passengers and crew, off the coast of San Francisco, anxiously
23
       awaiting their fate, for over six days.
24

25

26

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 1           27.    Princess is further negligent in failing to timely remove Michael Dorety
 2
       from the ship after repeated pleas from Susan Dorety and after Michael Dorety
 3

 4     exhibited signs and symptoms of COVID-19.
 5
             28.    As a result of Princess’s lackadaisical approach to the safety of Susan
 6

 7
       and Michael Dorety as well as the other passengers, and crew aboard the Grand

 8     Princess, Michael Dorety died and Susan Dorety contracted COVID-19.
 9
                                        Gross Negligence
10

11           29.    Plaintiff/Intervenor re-alleges all allegations set out in paragraphs 7
12
       through 28 above as if alleged fully herein.
13

14
             30.    Princess’ conduct in deciding to continue to sail the Grand Princess

15     knowing that the ship was infected from two previous passengers who came down
16
       with symptoms of COVID-19, and had 62 passengers on board who were previously
17

18     exposed to those two infected individuals, along with the prior crew, shows a lack
19
       of any care on the part of Princess, amounting to gross negligence. Princess knew
20

21
       how dangerous it was to expose Susan and Michael Dorety and the rest of its

22     passengers to COVID-19 in light of its experience with the Diamond Princess a short
23
       three weeks prior, and yet it departed from what a reasonably careful cruise line
24

25     would do under the circumstances in continuing to sail with Susan and Michael
26
       Dorety.
27

28




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 1           31.    Princess’ conduct in failing to warn Susan and Michael Dorety of their
 2
       actual risk of harm in being exposed to COVID-19, either prior to boarding or while
 3

 4     they were already on board, in light of the prior passenger who came down with
 5
       symptoms and later died, along with others who came down with symptoms from
 6

 7
       that prior voyage, and the crew member who disembarked during this voyage due to

 8     COVID-19, amounts to an extreme departure of a what a reasonably careful cruise
 9
       line would do, in light of that fact that Susan and Michael Dorety are in the age group
10

11     most susceptible to death from COVID-19.
12
             32.    Princess chose to place profits over the safety of its passengers, crew,
13

14
       and the general public in continuing to operate business as usual, despite their

15     knowledge of the actual risk of injury to Susan and Michael Dorety, who are in
16
       the age group most susceptible to death from COVID-19
17

18      V.   INJURIES AND DAMAGES
19
             33.    Susan Dorety is a wrongful death beneficiary and seeks all available
20

21
       damages recoverable by law resulting from the death of Michael Dorety. Susan

22     Dorety sustained, and continues to sustain, damages, among other things, for loss of
23
       society, companionship, pecuniary loss, loss of inheritance, loss of consortium, and
24

25     mental anguish as a result of the death of Michael Dorety.
26

27

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 1            34.    Susan Dorety seeks damages for Michael Dorety’s conscious pain and
 2
       suffering and pain and mental anguish from the time of the occurrence to his death
 3

 4     as a result of the facts alleged herein.
 5
              35.    Susan Dorety seeks all damages under the Survival Act for the Estate
 6

 7
       of Michael Dorety for the reasonable and necessary medical care and expenses of

 8     Michael Dorety’s last medical care before he was pronounced dead, and for the costs
 9
       associated with his funeral and burial.
10

11            36.    Susan Dorety seeks all damages associated with her pain and suffering
12
       and pain and mental anguish in contracting COVID-19 while onboard the Princess
13

14
       cruise.

15            37.    Plaintiff/Intervenor is seeking damages in an amount greater than one
16
       million dollars ($1,000,000).
17

18     VI.    JURY DEMAND
19
              38.    Plaintiff/Intervenor formally make this demand and application for a
20

21
       jury trial in this lawsuit.

22    VII.    PRAYER
23
              WHEREFORE, PREMISES CONSIDERED, Plaintiff/Intervenor prays
24

25     Princess be cited to appear and answer herein, and that upon final trial,
26
       Plaintiff/Intervenor recover of Princess both actual and exemplary damages, as set
27

28
       forth above, and costs of court, pre-judgment and post-judgment interest, and



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 1     expenses, and such other and further relief to which Plaintiff/Intervenor may show
 2
       herself justly entitled.
 3

 4     Dated: April 14, 2020                SINGLETON LAW FIRM, APC
 5
                                            By:    /s/Gerald Singleton
 6                                                 Gerald Singleton
 7
                                                   Attorneys for Plaintiff/Intervenor
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       PETITION IN INTERVENTION
